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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD DIGITAL                               )
 CONFIRMATION, LLC,                               )
                                                  )
                  Plaintiff,                      )
                                                  )
    v.                                            ) C.A. No. 19-1109-MN
                                                  )
 COMPANYCAM, INC.,                                )
                                                  )
                  Defendant.                      )



                 DECLARATION OF ANDREW E. RUSSELL IN SUPPORT
                     OF COMPANYCAM’S SECTION 285 MOTION

I, Andrew E. Russell, declare as follows:

         1.     I am partner at the law firm of Shaw Keller LLP, counsel for CompanyCam, Inc.

in the above-captioned action. I am a member of the Bar of the State of Delaware (No. 5382). I

am over the age of 18, and I have personal knowledge of the facts set forth herein and could

competently testify about these matters if called upon to do so.

         2.     Attached as Exhibit A is a true and correct copy of a chart showing invoiced fee

amounts for Shaw Keller attorneys through March, 2020, as well as the estimated total fees

reported in the concurrently-filed declaration of Rachael D. Lamkin.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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                                       /s/ Andrew E. Russell
                                       Andrew E. Russell

Dated: April 16, 2020
